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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA              )
                                      )
     v.                               ) Cr. No. 94-10287-MLW
                                      )
STEPHEN FLEMMI                        )

                        MEMORANDUM AND ORDER
WOLF, D.J.                                            November 28, 2005

     The court has considered the Motion of Globe Newspaper Company

(the “Globe”) to Intervene and for Access to Protective Orders and

Sealing Orders because it is appropriate to allow intervention for

the limited purpose requested.     See In re Globe Newspaper Company,

729 F.2d 47, 50 n.2 (1st Cir. 1984); United States v. Sampson, 297

F. Supp. 2d 342 (D. Mass. 2003).

     The June 26, 1997 and December 29, 1997 Protective Orders that

the Globe states it wishes to review are public, indeed published,

documents.   See United States v. Salemme, 978 F. Supp. 386, 389-90

(D. Mass. 1997); United States v. Salemme, 1997 WL 810057, at *4

(D. Mass. Dec. 29, 1997).    The two sealed November 14, 1997 Orders

relate to confidential information of the Department of Justice

that the court deemed to be discoverable in connection with the

then forthcoming hearings on defendants’ motion to dismiss and

suppress pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny.     Redacted versions of those Orders, and the public

November 14, 1997 Order to which they refer, are attached hereto.
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     In the course of the intensive and lengthy hearings in this

case the court issued numerous written and oral orders sealing

documents, transcripts, and the information that they contain,

applying when appropriate the standards described in United States

v. Salemme, 985 F. Supp. 193 (D. Mass. 1997).              Without further

specification by the Globe or other interested parties, a review of

the entire file and many transcripts in this case by the court to

search for such orders is neither justified nor, as a practical

matter, feasible.

     The Globe in its motion asserts that “[t]he Protective Orders

entered by this Court have been cited in other cases involving

related issues, parties or evidence as grounds for denying public

access to discovery materials in those cases.” The other cases and

particular Orders are not, however, identified.                 If parties in

other cases claim to be relying on particular Protective Orders and

Sealing Orders issued by this court, the court will, upon request,

decide whether those orders should be unsealed, if they are

impounded.

     When documents or information produced by the parties under

seal in this case have been requested in discovery in another case,

it has been the practice of this court to authorize the judge

presiding    in   the   other   case   to   order   discovery    of   the   same

documents or information subject to any restrictions that judge

deems appropriate. See, e.g., attached June 28, 2002 Order in this


                                       2
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case relating to Donahue    v. United States, 01-CV-10433-RCL.         This

court has retained the sole authority to decide whether any sealed

transcript in this case should be unsealed.         Id.   This court is

likely to take a similar approach to any future requests.

     Accordingly, it is hereby ORDERED that:

     1.    The Motion of Globe Newspaper Company to Intervene is

ALLOWED.

     2.    The Globe’s request for access to the November 14, 1997

Sealing Orders is ALLOWED and its request for other sealing orders

is DENIED without prejudice.




                                        UNITED STATES DISTRICT JUDGE




                                    3
